         Case 1:16-cv-02307-CRC Document 12 Filed 07/13/17 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
CHELSEA E. MANNING,                 )
                                    )
                  Plaintiff,        )
                                    )               Civil Action No. 1:16-cv-2307 (CRC)
                  v.                )
                                    )
DANIEL R. COATS, et al.,            )
                                    )
                  Defendants.       )
____________________________________)

                    NOTICE OF SUBSTITUTION OF COUNSEL
             AND CERTIFICATE OF FAMILIARITY WITH LOCAL RULES

       Please take notice and substitute Daniel Schwei, a Trial Attorney with the Civil Division

of the United States Department of Justice, as lead counsel for the Defendants in this action in

place of Robin Thurston. All future correspondence and other communications regarding this

case should be directed to Mr. Schwei at the addresses and phone number indicated below.

Pursuant to Local Civil Rule 83.2(j), the undersigned certifies that he is personally familiar with

the Local Rules of this Court.

DATED: July 13, 2017                                 Respectfully submitted,

                                                     CHAD A. READLER
                                                     Acting Assistant Attorney General

                                                     CHANNING D. PHILLIPS
                                                     United States Attorney

                                                     ANTHONY J. COPPOLINO
                                                     Deputy Branch Director

                                                     /s/ Daniel Schwei
                                                     DANIEL SCHWEI
                                                     Trial Attorney (N.Y. Bar)
Case 1:16-cv-02307-CRC Document 12 Filed 07/13/17 Page 2 of 3



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                                 Washington, D.C. 20001

                                 Counsel for Defendants
         Case 1:16-cv-02307-CRC Document 12 Filed 07/13/17 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I certify that on July 13, 2017, I sent the foregoing Notice to plaintiff Chelsea E. Manning

by electronic mail, and also by U.S. mail to her last known address.


                                             /s/ Daniel Schwei
                                             DANIEL SCHWEI
